UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

NEXSTAR MEDIA INC.,
Plaintiff, 21-cv-6860 (JGK)

- against - ORDER

COMCAST CABLE COMMUNICATIONS, LLC,
Defendant.

 

JOHN G. KOELTL, District Judge:
For the reasons explained at the teleconference held on May
2, 2022, the defendant’s motion to dismiss or to stay the case
is denied. The Clerk is directed to close Docket Nos. 18 and 23.
Comcast Cable Communications, LLC will answer by May 20,
2022. The parties should file a Rule 26(f) report by June 3,
2022. If the answer includes counterclaims or claims against a
third-party defendant, the parties may submit a letter to the
Court requesting an extension of the time to file a Rule 26(f)
report.
SO ORDERED.

Dated: New York, New York
May .2, 2022

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‘Jolin G. Koeltl
United States District Judge

 
